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MISDEMEANOR MINUTES:
Time set:          9:00 a.m.                                  Date:                                8/9/2023

Start Time:                                                   Presiding Judge:                     Douglas E. Miller. USMJ
End Time:                                                     Courtroom Deputy:                    Dpdge, C
Recorded by:        FTR                                       U.S. Attorney:                                                   rl
                                                              Defense Counsel:                            m
Case Number:       2:23mi97                                   (H6 Retained                         ( ) Court-appoiijted M
                                                              (           ) AFPD                   (   ) Waived Counsel
USA V. Joshua D. Caoles

COUNTS;               1)DUI
                      2^ Disregard Signal from LEO
                      3)
                      4)

(    ( lUsfresent ( ) In custody ( ) No appearance ( ) Excused Prior to Court
(    Initial Appearance ( ^ Docket Call ( ) Plea of Guilty ( ) Bench Trial ( ) Jury Trial
(   ) Defendant advised of rights
( ) Oral admonition as required by DPPA given to the prosecutor
( ) Consent to Proceed before U.S. Magistrate Judge executed and filed in open court.
( ) Acknowledgment of Rights Form executed and filed in open court.
    Government motion: ( ) Warrant ( ) Summons ( ) Continue ( /^DWOP( ) DWP
( ) Other                                    (   Granted ( ) Denied
( ) Defendant motion: ( ) Continue ( ) Judgment of Acquittal ( ) Strike
(   ) Other                                 (   ) Granted         (       ) Denied
( ) Counsel desired; Court ( ) Directed ( ) Denied ( ) Government not seeking jail time
( ) Defendant shall reimburse govt, for court appointed counsel at rate of $ /mo. begin
( ) Defendant will to retain counsel. ( ) Retained Counsel
(   ) Case continued to 9:00 a.m. on
     ( ) Standard Probation Conditions Form executed and filed in open court
(   ) Bond set                                                       with the following conditions of release:
(   ) 1. Probation Office supervision                       ( ) 5. Substance abuse testing and if positive treatment as deemed
(   ) 2. Shall not operate m/v after consuming alcohol              necessary by PO.
(   ) 3. Prohibited from operating a motor vehicle unless   ( ) 6. Mental health evaluation and treatment as deemed necessary
          properly licensed to do so                                                 by PO
( ) 4. No consumption ( ) No excessive use of Alcohol             ( )7. No use/possession ofnarcotic/controlled substance unless
                                                                        prescribed by physician
                                                                  (        )8-
(   ) Proffer                                                     (        )    Evidence & Witnesses presented
(   ) Statement by Defendant                                      (        )    PSR WAIVED by all parties
(   ) Found Guilty         ( ) Found Not Guilty                   (        )    Continued for Pre-sentence Report
(   ) Dismissed by Court                                          (        )    Advised of Right to Appeal
(   ) Sentencing:
(   ) Jail:                                            X ) To be released at 5:00 p.m. today ( ) As special condition of probation
(   ) Remanded ( ) Report as directed by U.S. Probation Office ( ) Jail time may be served on weekends as directed by U.S.
      Probation
(   ) Probation:                                                      (        ) Supervised Release:


                   FINE:                        ASSESSMENT:                           PROCESSING FEE;               RESTITUTION:

     $                                 $.                                       S.                             $.
     $.                                $.                                       $.                             $.
     $.                                $.                                       $.                             $.
     $.                                $.                                       $.                             $.
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( ) Driving privileges within special maritime and territorial jurisdiction of the United States are suspended for ONE (1) YEAR.
( ) The defendant is prohibited from operating a motor vehicle in the special maritime and territorial jurisdiction of the United
    States, pursuant to 18 U.S.C. § 13(b)(1), for one (1) year.
( ) The defendant shall not operate a motor vehicle unless properly licensed to do so.
( ) If the defendant obtains a restricted license pursuant to law after any license suspension or revocation by any issuing state due to
        this conviction, the defendant may operate a motor vehicle, including in the special maritime and territorial jurisdiction of the
      United States, subject to compliance with the terms of the restricted license.
(   ) Defendant is directed to participate in an alcohol education/treatment and or mental health program as directed by Probation.
( ) Defendant is directed to serve                      hours of community service.
(   ) Defendant is directed to participate in a theft prevention program as directed by the U. S., Probation office.
(   )
(   )
(   )
(   )

                                                       CONDITIONS OF RELEASE


(   ) The defendant shall submit to supervision by and report to the U.S. Probation Office.
(   ) The defendant is directed to seek and maintain verifiable employment as directed by the Probation Office.
(   ) The defendant is directed to surrender any passport to the Probation Office.
(   ) The defendant is prohibited from obtaining any passport.
(   )    Travel is restricted to:
               ( ) with travel between the two for purposes of court appearances and meetings with counsel by the most direct route.
(   ) The defendant is directed to avoid all contact direct or indirectly with alleged victims, and/or potential witnesses and/or co
      conspirators in the investigation or prosecution, ( ) including but not limited to any child under the age 18, unless in the
         company of an informed adult approved by the U.S. Probation, including
(   )    The defendant is directed to maintain residence at:.
(   )                                                              is directed to serve as third-party custodian.
(   )    The defendant is prohibited from possessing a firearm, destructive device, or other dangerous weapon.
(   )    The defendant is directed to refrain from excessive use of alcohol.
(   )    The defendant is directed to refrain from any use or unlawful possession of a narcotic drug and other controlled substances
         defined in 21 U.S.C. 802 unless prescribed by a licensed medical practitioner.
(   )    The defendant shall submit to method of testing required by the probation officer or the supervising officer for determining
         whether the defendant is using a prohibited substance. Such methods may be used with random frequency and include urine
         testing, the wearing of a sweat patch, a remote alcohol testing system, and or any form of prohibited substance screening or
         testing.
(   )    The defendant shall participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed
         advisable by the probation officer or supervising officer.
(   )    The defendant shall participate in an evaluation to assess the presence, nature and severity of a substance abuse problem, and
         submit to treatment if deemed necessary by the treatment provider and U.S. Probation Office.
(   )    The defendant is directed to submit to electronic monitoring (with/without) GPS, ( ) Curfew ( ) Home Detention ( ) Home
         Incarceration (with/without) time outs as directed by the U.S. Probation Office, at the expense of the defendant,
(   )    The defendant shall comply with a specified curfew from              to           or as specified by the U.S. Probation Office.
(   )    The defendant shall report as soon as possible to the probation officer or supervising officer any contact with any law
         enforcement personnel, including, but not limited to, any arrest, questioning, or traffic stop.
(   )    The defendant must provide the Probation Officer access to any requested financial information and authorize the release of any
         financial information.
(   ) The defendant shall notify current or future employers of charged offense ( ) and provide contact information for individual
      responsible for internet monitoring at place of employment.
(   ) The defendant must not incur new credit charges, or apply for or open additional lines of credit, loans, or financial or bank
      accounts without the prior approval of the probation office.
(   ) The defendant must not engage in any occupation that would require or enable access to the personal identity or financial
      information of others without the prior approval of the probation office.
(   )    Adam Walsh Conditions.
(   )    The defendant shall submit to mental health and/or sex offender evaluation and treatment as directed by the U.S. Probation
         Office.
(   )    The defendant shall not use, have possession, or access any to computer or internet, bulletin board, or chat room.
(   )
(   )
(   )
(   )
